                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 1 of 23 Page ID #:1



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                                  8
                                       and Proposed Class
                                  9
                                 10                         UNITED STATES DISTRICT COURT

                                 11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 12
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                                 13    FLOR JIMENEZ, individually and on CASE NO.:
                                       behalf of all others similarly situated,
                                 14
                                                           Plaintiff,                 CLASS ACTION COMPLAINT
                                 15                                                1. VIOLATIONS OF THE
                                             v.
                                 16                                                   AMERICANS WITH
                                                                                      DISABILITIES ACT OF 1990, 42
                                 17    SH GROUP OPERATIONS, L.L.C.                    U.S.C. §12181
                                 18    d/b/a 1 HOTELS, a Delaware limited          2. VIOLATIONS OF THE UNRUH
                                       liability company; and DOES 1 to 10,           CIVIL RIGHTS ACT
                                 19    inclusive,                                     DEMAND FOR JURY TRIAL
                                 20
                                                          Defendants.
                                 21
                                 22
                                 23
                                 24
                                 25          Plaintiff Flor Jimenez (hereinafter “Plaintiff”), individually and on behalf of
                                 26    all others similarly situated, brings this action based upon personal knowledge as to
                                 27    herself and her own acts, and as to all other matters upon information and belief,
                                 28    based upon, inter alia, the investigations of her attorneys.
                                                                          1
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 2 of 23 Page ID #:2



                                  1          1.     Plaintiff is a visually impaired and legally blind person who requires
                                  2    screen-reading software to read website content using her computer and to interact
                                  3    with mobile applications on her electronic device(s). Plaintiff uses the terms
                                  4    “blind” or “visually impaired” to refer to all people with visual impairments who
                                  5    meet the legal definition of blindness in that they have a visual acuity with
                                  6    correction of less than or equal to 20 x 200. Some blind people who meet this
                                  7    definition have limited vision. Others have no vision.
                                  8          2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  9    (hereafter “Class Members”), brings this Class Action to secure redress against
                                 10    Defendant SH Group Operations, L.L.C. d/b/a 1 Hotels (hereinafter “Defendant”)
                                 11    and DOES 1-10, for its failure to design, construct, maintain, and operate its website
                                 12    to be fully and equally accessible to and independently usable by Plaintiff and other
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                                       blind or visually impaired individuals. Defendant’s denial of full and equal access
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                                 13
                                 14    to its website, and therefore denial of its products and services offered thereby and
                                 15    in conjunction with its physical locations, is a violation of Plaintiff’s rights under
                                 16    the Americans with Disabilities Act (“ADA”) and California’s Unruh Civil Rights
                                 17    Act (“Unruh Act”).
                                 18          3.     Further, Plaintiff, individually and on behalf of Class Members, brings
                                 19    this action against Defendant for failing to design, construct, maintain, and operate
                                 20    its mobile application, 1 Hotels (hereinafter “Mobile App” or “Mobile
                                 21    Application”), to be fully accessible to, and independently usable by Plaintiff and
                                 22    other blind or visually impaired individuals. Defendant’s denial of full and equal
                                 23    access to its Mobile App also denies Plaintiff the products and services which
                                 24    Defendant offers in conjunction with its physical locations.            Accordingly,
                                 25    Defendant is in violation of Plaintiff’s rights under the ADA and the Unruh Act.
                                 26          4.     Because    Defendant’s     website,   https://www.1hotels.com/,      (the
                                 27    “website” or “Defendant’s website”), is not fully or equally accessible to blind and
                                 28    visually impaired consumers, resulting in violation of the ADA, Plaintiff seeks a
                                                                          2
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 3 of 23 Page ID #:3



                                  1    permanent injunction to cause a change in Defendant’s corporate policies, practices,
                                  2    and procedures so that Defendant’s website will become and remain accessible to
                                  3    blind and visually impaired consumers.
                                  4          5.     Moreover, Defendant’s Mobile App, a separate portal of access to
                                  5    Defendant’s products and services which it offers in conjunction with its
                                  6    corresponding places of public accommodation, 42 U.S.C. § 12181(7), is not fully
                                  7    or equally accessible to blind and visually impaired consumers in violation of the
                                  8    ADA. Therefore, Plaintiff seeks a permanent injunction to cause a change in
                                  9    Defendant’s corporate policies, practices, and procedures so that Defendant’s
                                 10    Mobile App also becomes and remains accessible to blind and visually impaired
                                 11    consumers.
                                 12                                     THE PARTIES
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                                 13          6.     Plaintiff, at all times relevant and as alleged herein, is a resident of
                                 14    California, County of Solano.      Plaintiff is a legally blind, visually impaired
                                 15    handicapped person, and member of a protected class of individuals under the ADA,
                                 16    pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA
                                 17    set forth at 28 CFR §§ 36.101, et seq.
                                 18          7.     Defendant is a Delaware corporation with its headquarters in
                                 19    Greenwich, Connecticut. Defendant’s servers for the website are in the United
                                 20    States. Defendant conducts a large amount of its business in California and the
                                 21    United States as a whole.        Defendant’s hotels constitute places of public
                                 22    accommodation pursuant to U.S.C. § 12181(7)(A), as Defendant owns and operates
                                 23    hotel locations.    Moreover, Defendant’s website and Mobile App provide
                                 24    consumers access to the goods and services which Defendant offers in its brick-
                                 25    and-mortar hotels. For example, Defendant’s website allows for consumers to
                                 26    check room availability, book a room, request information to plan a private event,
                                 27    shop Defendant’s goods, find hotel locations, contact Defendant, sign up for
                                 28    Defendant’s newsletter, apply for vacant employee positions, and access the App
                                                                          3
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 4 of 23 Page ID #:4



                                  1    Store or Google Play to download Defendant’s App. Defendant’s website also
                                  2    allows consumers to access Defendant’s social media webpages, review press
                                  3    releases, discover Defendant’s story, learn about Defendant’s commitment to
                                  4    sustainability, learn about upcoming events at respective hotel locations, view
                                  5    Defendant’s gallery, access frequently asked questions, select special offers,
                                  6    explore respective hotel and room amenities, make reservations for Defendant’s
                                  7    restaurants, and learn about Defendant’s pet policy.
                                  8          8.     Defendant’s Mobile App also provides methods by which consumers
                                  9    can check room availability and select a booking.
                                 10          9.     Plaintiff is unaware of the true names, identities, and capacities of
                                 11    Defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 12    complaint to allege the true names and capacities of DOES 1 to 10 if and when
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                                 13    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 14    Defendant sued herein as a DOE is legally responsible in some manner for the
                                 15    events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 16    proximately caused injuries and damages to Plaintiff as set forth below.
                                 17          10.    Defendant’s hotels are public accommodations within the definition of
                                 18    Title III of the ADA, 42 U.S.C. § 12181(7)(A).
                                 19          11.    The website and Mobile App provide access to the goods, services,
                                 20    privileges, and advantage of Defendant’s hotels, places of public accommodation,
                                 21    by allowing consumers to purchase the goods and services offered in its hotels
                                 22    through the website.
                                 23                            JURISDICTION AND VENUE
                                 24          12.    This Court has subject matter jurisdiction over the state law claims
                                 25    alleged in this Complaint pursuant to the Class Action Fairness Act, 28 U.S.C.
                                 26    §1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5
                                 27    million, exclusive of interest and costs; and (b) some of the class members are
                                 28    citizens of a state (California), which is minimally diverse from the states of
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                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 5 of 23 Page ID #:5



                                  1    citizenship of Defendant (Delaware / Connecticut).
                                  2          13.    Defendant is subject to personal jurisdiction in this District. Defendant
                                  3    has and is committing the acts or omissions alleged herein in the Central District of
                                  4    California that caused injury, and violated rights prescribed by the ADA and Unruh
                                  5    Act, to Plaintiff and to other blind and other visually impaired consumers. A
                                  6    substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                  7    in the Central District of California. Specifically, on several separate occasions,
                                  8    Plaintiff has been denied the full use and enjoyment of the facilities, goods and
                                  9    services of Defendant’s hotel which is located in Los Angeles County, which
                                 10    Defendant offers through its website. The access barriers Plaintiff has encountered
                                 11    on Defendant’s website and Mobile App have caused a denial of Plaintiff’s full and
                                 12    equal access multiple times in the past and now deter Plaintiff on a regular basis
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                                       from accessing Defendant’s website and Mobile App. Similarly, the access barriers
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                                 13
                                 14    Plaintiff has encountered on Defendant’s website and Mobile App have impeded
                                 15    Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s
                                 16    physical locations.
                                 17          14.    This Court also has subject matter jurisdiction over this action pursuant
                                 18    to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title
                                 19    III of the ADA, 42 U.S.C. § 12181, et seq and 28 U.S.C. § 1367.
                                 20          15.    This Court also has subject matter jurisdiction pursuant to 28 U.S.C. §
                                 21    1332(a) because: (a) the amount in controversy exceeds $75,000, exclusive of
                                 22    interests and costs, and (b) the Plaintiff is a citizen of a state (California) that is
                                 23    completely diverse from Defendant, that is a citizen from a foreign state (Delaware
                                 24    / Connecticut).
                                 25          16.    This Court has personal jurisdiction over Defendant because it
                                 26    conducts and continues to conduct a substantial and significant amount of business
                                 27    in the State of California, County of Los Angeles, and because Defendant's
                                 28    offending website and Mobile App is available across California.
                                                                           5
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 6 of 23 Page ID #:6



                                  1          17.    Venue is proper in the Central District of California pursuant to 28
                                  2    U.S.C. § 1391 because Defendant conducts and continues to conduct a substantial
                                  3    and significant amount of business in this District, Defendant is subject to personal
                                  4    jurisdiction in this District, and a substantial portion of the conduct complained of
                                  5    herein occurred in this District.
                                  6          18.    Defendant owns, operates and maintains brick-and-mortar hotel
                                  7    locations in the State of California and the wider United States. Defendant’s hotels
                                  8    offer goods and services to the public. Defendant also offers the very goods and
                                  9    services that are offered in Defendant’s places of public accommodations to the
                                 10    public through the website and Mobile App. Defendant’s brick-and-mortar hotel
                                 11    locations are places of public accommodation pursuant to 42 U.S.C. § 12181(7)(A),
                                 12    and Defendant’s website and Mobile App are subject to the requirements of the
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                                 13    ADA because they provide methods by which consumers can access the goods and
                                 14    services offered in Defendant’s hotels which are inaccessible to disable screen-
                                 15    reader users, like Plaintiff and the Class Members.
                                 16      THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 17          19.    The Internet has become a significant source of information, a portal,
                                 18    and a tool for conducting business, doing everyday activities such as shopping,
                                 19    learning, banking, researching, as well as many other activities for sighted, blind
                                 20    and visually impaired persons alike.
                                 21          20.    In today's tech-savvy world, blind and visually impaired people have
                                 22    the ability to access websites and mobile applications using keyboards and phone
                                 23    screens in conjunction with screen access software that vocalizes the visual
                                 24    information found on a computer, laptop, tablet or phone screen. This technology
                                 25    is known as screen-reading software. Screen-reading software is currently the only
                                 26    method a blind or visually impaired person may independently access the internet.
                                 27    Unless websites and mobile applications are designed to be read by screen-reading
                                 28    software, blind and visually impaired persons are unable to fully access websites or
                                                                           6
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 7 of 23 Page ID #:7



                                  1    mobile applications, and the information, products, and services contained thereon.
                                  2          21.    Blind and visually impaired users of Windows operating system-
                                  3    enabled computers and devices have several screen-reading software programs
                                  4    available to them. Some of these programs are available for purchase and other
                                  5    programs are available without the user having to purchase the program separately.
                                  6    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                  7    popular, separately purchased and downloaded screen-reading software program
                                  8    available for a Windows computer.
                                  9          22.    For Apple based products, such as laptops and iPhones, the screen-
                                 10    reader called “VoiceOver” is built into the operating system. Akin to JAWS,
                                 11    VoiceOver converts text to speech.
                                 12          23.    For Android based products, TalkBack is built into the operating
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                                 13    system and converts text to speech.
                                 14          24.    For screen-reading software to function, the information on a website
                                 15    or mobile app must be capable of being rendered into text. If the website or mobile
                                 16    application content is not capable of being rendered into text, the blind or visually
                                 17    impaired user is unable to access the same content available to sighted users.
                                 18          25.    The international website standards organization, the World Wide
                                 19    Web Consortium, known throughout the world as W3C, has published Success
                                 20    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 21    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 22    accessible to blind and visually impaired people. These guidelines are adopted,
                                 23    implemented and followed by most large business entities who want to ensure their
                                 24    websites and mobile applications are accessible to users of screen-reading software
                                 25    programs. Though WCAG 2.1 has not been formally adopted as the standard for
                                 26    making websites accessible, it is one of, if not the most, valuable resource for
                                 27    companies to operate, maintain, and provide a website that is accessible under the
                                 28    ADA to the public. Plaintiff seeks Defendant comply with WCAG 2.1 as a remedy.
                                                                           7
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 8 of 23 Page ID #:8



                                  1    Plaintiff does not premise Defendant’s violations of the ADA nor the Unruh Act on
                                  2    violations of WCAG 2.1. However, the Department of Justice (“DOJ”) has issued
                                  3    guidance on how to make web content accessible to people with disabilities. The
                                  4    DOJ’s guidance provides that: “Existing technical standards provide helpful
                                  5    guidance concerning how to ensure accessibility of website features. These include
                                  6    [WCAG] and the Section 508 standards, which the federal government uses for its
                                  7    own websites.”1 Accordingly, although not a sole basis to premise violations of the
                                  8    ADA and the Unruh Act on, WCAG “provide helpful guidance concerning how to
                                  9    ensure accessibility of website features.”
                                 10             26.     Within this context, the Ninth Circuit has recognized the viability of
                                 11    ADA claims against commercial website owners/operators with regard to the
                                 12    accessibility of such websites. Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 905-
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Los Angeles, CA 90010-1137
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                                 13    06 (9th Cir. 2019), cert. denied, 140 S.Ct. 122, 206 L. Ed. 2d 41 (2019). This is in
                                 14    addition to the numerous courts that have already recognized such application.
                                 15             27.     Each of Defendant’s violations of the Americans with Disabilities Act
                                 16    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 17    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 18    Civil Rights Act. Cal. Civ. Code, § 51(f).
                                 19                                   FACTUAL BACKGROUND
                                 20             28.     Defendant offers the website and Mobile App to the public. The
                                 21    website and Mobile Application offer features which should allow all consumers to
                                 22    access the goods and services which Defendant offers in connection with its
                                 23    physical locations. The goods and services offered by Defendant include, but are
                                 24    not limited to, the following: hotel room reservations, apparel, bath and spa
                                 25    products, restaurants, lounges, in-room dining, wellness spas, personal training,
                                 26    meeting & event space rentals, catering, and special offers & packages. Consumers
                                 27    can also access information regarding room and suite amenities, dining options,
                                 28    1   https://beta.ada.gov/resources/web-guidance/
                                                                              8
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 9 of 23 Page ID #:9



                                  1    Defendant’s calendar of events, local activities, spa and fitness amenities, event
                                  2    space and filming details, Defendant’s photo gallery, pet accommodation details,
                                  3    contact details, answers to frequently asked questions, Defendant’s social media
                                  4    webpages, and Defendant’s mobile app.
                                  5          29.    Due to Defendant’s failure to properly code its website, Plaintiff has
                                  6    been and is still being denied equal and full access to Defendant’s hotels and the
                                  7    numerous goods, services, and benefits offered to the public through Defendant’s
                                  8    website.
                                  9       THE WEBSITE AND MOBILE APP BARRIERS DENY PLAINTIFF
                                 10                                         ACCESS
                                 11          30.    Plaintiff is a visually impaired and legally blind person, who cannot
                                 12    use a computer, laptop, tablet, or smartphone without the assistance of screen-
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Los Angeles, CA 90010-1137
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                                 13    reading software. Fortunately, Plaintiff is a proficient user of screen-reading
                                 14    software to access the internet, including the likes of the JAWS screen-reader
                                 15    program, as well as Mac’s VoiceOver. Plaintiff has visited the website on August
                                 16    8, 2022 and September 12, 2022, and Plaintiff attempted to use the Mobile App on
                                 17    September 12, 2022. To visit the website Plaintiff used Jaws, and to attempt to use
                                 18    the Mobile App Plaintiff used VoiceOver in conjunction with her iPhone. Plaintiff
                                 19    visited the website and Mobile App to make a hotel reservation.
                                 20          31.    During Plaintiff’s visits to Defendant’s website and Mobile App,
                                 21    Plaintiff encountered multiple access barriers which denied Plaintiff full and equal
                                 22    access to the facilities, goods, and services offered to the public and made available
                                 23    to the public on Defendant’s website and Mobile App in conjunction with
                                 24    Defendant’s hotels, places of public accommodation. For example, when Plaintiff
                                 25    attempted to book a room, she was unable to select dates for her stay because of
                                 26    Defendant’s failure to properly code its calendar to be keyboard accessible to
                                 27    Plaintiff. Because Plaintiff is legally blind and uses the Jaws screen-reader, she
                                 28    must rely on her keyboard to navigate webpages, including Defendant’s website.
                                                                           9
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 10 of 23 Page ID #:10



                                  1   As a result of Defendant’s failure to ensure that its calendar box to select dates for
                                  2   a visit is keyboard accessible, Plaintiff could not complete a booking.
                                  3         32.    As a result, Plaintiff who desired to book a room could not complete a
                                  4   booking as a sighted person could. If Defendant had sufficiently coded the website
                                  5   and Mobile App to be readable by Plaintiff’s screen-reader and accessible with her
                                  6   keyboard, Plaintiff would have been able to interact with these elements and
                                  7   complete a purchase as a sighted person could.
                                  8         33.    Accordingly, Plaintiff was denied the ability to make a purchase of a
                                  9   service which Defendant provides through the website and Mobile App in
                                 10   conjunction with its places of public accommodation, its hotels, because Defendant
                                 11   failed to have the proper procedures in place to ensure that content uploaded to the
                                 12   website and Mobile App contain the proper coding to convey the meaning and
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                                 13   structure of the website and the goods and services provided by Defendant.
                                 14         34.    Due to the widespread access barriers Plaintiff encountered on
                                 15   Defendant’s website and Mobile App, Plaintiff has been deterred from accessing
                                 16   Defendant’s website, Mobile App, and Defendant’s hotels.
                                 17         35.    Despite Plaintiff’s attempts to do business with Defendant on its
                                 18   website and Mobile App, the numerous access barriers contained on the website
                                 19   and encountered by Plaintiff, have denied Plaintiff full and equal access to
                                 20   Defendant’s website, Mobile App, and Defendant’s hotels. Plaintiff, as a result of
                                 21   the barriers on Defendant’s website and Mobile App, continues to be deterred from
                                 22   accessing Defendant’s website, Mobile App, and Defendant’s hotels. Likewise,
                                 23   based on the numerous access barriers Plaintiff has been deterred and impeded from
                                 24   the full and equal enjoyment of goods and services offered in Defendant’s hotels.
                                 25   If Defendant’s website and Mobile App were properly coded, Plaintiff could and
                                 26   would complete a booking to stay at Defendant’s hotels.
                                 27         36.    Akin to the Plaintiff, the Class Members accessed Defendant’s website
                                 28   and Mobile App but were denied goods and services which Defendant provides
                                                                         10
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 11 of 23 Page ID #:11



                                  1   though the website and Mobile App in conjunction with Defendant’s hotels, places
                                  2   of public accommodation.         The Class Members are thereby deterred from
                                  3   patronizing Defendant’s hotels as a result of Defendant’s failure to properly code
                                  4   the website and Mobile App. Like Plaintiff, the Class Members were denied access
                                  5   as a result of Defendant’s coding failures. Plaintiff and the Class Members all
                                  6   suffered the same injury because their screen-readers were all incapable of reading
                                  7   aloud the non-visual elements of the website which support the services and goods
                                  8   which Defendant provides through the website and Mobile App in conjunction with
                                  9   its hotels.
                                 10      DEFENDANT’S WEBSITE AND MOBILE APP HAVE SUFFICIENT
                                 11    NEXUSES TO DEFENDANT’S PHYSICAL LOCATIONS TO SUBJECT
                                 12   THE WEBSITE AND MOBILE APP TO THE REQUIREMENTS OF THE
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                                 13                       AMERICANS WITH DISABILITIES ACT
                                 14          37.     Defendant’s website and Mobile App are subject to the ADA because
                                 15   the goods and services that Defendant offers on the website and Mobile App are an
                                 16   extension of the goods and services offered in Defendant’s brick-and-mortar hotels.
                                 17   For example, the goods and the services which can be procured online are available
                                 18   for purchase in Defendant’s brick-and-mortar hotels. Thus, since the website and
                                 19   Mobile App facilitate access to the goods and services of a place of public
                                 20   accommodation, the website and Mobile App fall within the protection of the ADA
                                 21   because the website and Mobile App connect customers to the goods and services
                                 22   of Defendant’s physical hotels.
                                 23      DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE AND
                                 24                                      MOBILE APP
                                 25          38.     Due to the inaccessibility of the Defendant’s website and Mobile App,
                                 26   blind and visually impaired customers such as the Plaintiff and the Class Members,
                                 27   who need screen-readers, cannot fully and equally use or enjoy the facilities and
                                 28   services the Defendant offers to the public on its website and Mobile App. The
                                                                           11
                                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 12 of 23 Page ID #:12



                                  1   access barriers the Plaintiff and Class Members encountered have caused a denial
                                  2   of Plaintiff’s and the Class Member’s full and equal access in the past and now deter
                                  3   Plaintiff and the Class Members on a regular basis from accessing the website and
                                  4   Mobile App.
                                  5         39.     These access barriers on Defendant’s website and Mobile App have
                                  6   deterred Plaintiff and Class Members from enjoying the goods and services of
                                  7   Defendant’s brick-and-mortar hotels which are offered through Defendant’s
                                  8   website and Mobile App in a full and equal manner to sighted individuals. Plaintiff
                                  9   and Class Members did intend to visit the Defendant’s locations in the near future
                                 10   if Plaintiff and Class Members could access Defendant’s website and Mobile App
                                 11   fully and equally as a sighted person can.
                                 12         40.     If the website and Mobile App were equally accessible to all, Plaintiff
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Los Angeles, CA 90010-1137
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                                 13   and Class Members could independently navigate the website and Mobile App and
                                 14   complete a desired transaction, as sighted individuals do.
                                 15         41.     Plaintiff, through Plaintiff’s attempts to use the website and Mobile
                                 16   App, has actual knowledge of the access barriers that make these services
                                 17   inaccessible and independently unusable by blind and visually impaired people.
                                 18         42.     The Defendant uses standards, criteria or methods of administration
                                 19   that have the effect of discriminating or perpetuating the discrimination against
                                 20   others, as alleged herein.
                                 21         43.     The ADA expressly contemplates the injunctive relief that Plaintiff
                                 22   seeks in this action. In relevant part, the ADA requires:
                                 23         In the case of violations of … this title, injunctive relief shall include
                                 24         an order to alter facilities to make such facilities readily accessible to
                                 25         and usable by individuals with disabilities …. Where appropriate,
                                 26         injunctive relief shall also include requiring the … modification of a
                                 27         policy …. 42 U.S.C. § 12188(a)(2).
                                 28         44.     Because Defendant’s website and Mobile App have never been equally
                                                                         12
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 13 of 23 Page ID #:13



                                  1   accessible and because Defendant lacks a corporate policy that is reasonably
                                  2   calculated to cause the Defendant’s website and Mobile App to become and remain
                                  3   accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent
                                  4   injunction requiring the Defendant to retain a qualified consultant acceptable to
                                  5   Plaintiff to assist Defendant to comply with WCAG 2.1 guidelines for Defendant’s
                                  6   website and Mobile App. The website and Mobile App must be accessible for
                                  7   individuals with disabilities who use desktop computers, laptops, tablets, and
                                  8   smartphones. Plaintiff and Class Members seek that this permanent injunction
                                  9   require Defendant to cooperate with the agreed-upon consultant to: train
                                 10   Defendant’s employees and agents who develop the website on accessibility
                                 11   compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                 12   the website and Mobile App under the WCAG 2.1 guidelines; regularly test user
3055 Wilshire Blvd, 12th Floor




                                      accessibility by blind or vision-impaired persons to ensure that the Defendant’s
Los Angeles, CA 90010-1137
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                                 13
                                 14   website and Mobile App comply under the WCAG 2.1 guidelines; and develop an
                                 15   accessibility policy that is clearly disclosed on the Defendant’s website and Mobile
                                 16   App. The above provides contact information for users to report accessibility-
                                 17   related problems and requires that any third-party vendors who participate on the
                                 18   Defendant’s website and Mobile App to be fully accessible to the disabled by
                                 19   conforming with WCAG 2.1.
                                 20         45.    If Defendant’s website and Mobile App were accessible, Plaintiff and
                                 21   Class Members could independently access information about the services offered
                                 22   and goods available for online purchase and complete a booking.
                                 23         46.    Although Defendant may currently have centralized policies regarding
                                 24   maintaining and operating Defendant’s website and Mobile App, Defendant lacks
                                 25   a plan and policy reasonably calculated to make Defendant’s website and Mobile
                                 26   App fully and equally accessible to, and independently usable by, blind and other
                                 27   visually impaired consumers.
                                 28         47.    Defendant has, upon information and belief, invested substantial sums
                                                                         13
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 14 of 23 Page ID #:14



                                  1   in developing and maintaining Defendant’s website and Mobile App and Defendant
                                  2   has generated significant revenue from Defendant’s website and Mobile App.
                                  3   These amounts are far greater than the associated cost of making Defendant’s
                                  4   website and Mobile App equally accessible to visually impaired customers.
                                  5          48.    Without injunctive relief, Plaintiff and Class Members will continue to
                                  6   be unable to independently use Defendant’s website and/or Mobile App resulting
                                  7   in a violation of their rights.
                                  8                           CLASS ACTION ALLEGATIONS
                                  9          49.    Plaintiff, on behalf of herself and all others similarly situated, seeks to
                                 10   certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) (b)(3), the
                                 11   Nationwide class is initially defined as follows:
                                 12          all legally blind individuals who have attempted to access Defendant’s
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13          website or Mobile App by the use of a screen reading software during
                                 14          the applicable limitations period up to and including final judgment in
                                 15          this action.
                                 16          50.    The California class is initially defined as follows:
                                 17          all legally blind individuals in the State of California who have
                                 18          attempted to access Defendant’s website or Mobile App by the use of
                                 19          a screen reading software during the applicable limitations period up
                                 20          to and including final judgment in this action.
                                 21          51.    Excluded from each of the above Classes is Defendant, including any
                                 22   entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                 23   which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                 24   representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                 25   excluded are the judge and the court personnel in this case and any members of their
                                 26   immediate families. Plaintiff reserves the right to amend the Class definitions if
                                 27   discovery and further investigation reveal that the Classes should be expanded or
                                 28   otherwise modified.
                                                                          14
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 15 of 23 Page ID #:15



                                  1         52.    Numerosity. Fed. R. Civ. P. 23(a)(1). This action has been brought and
                                  2   may properly be maintained as a class action against Defendant under Rules
                                  3   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                  4   number and identities of other Class Members are unknown to Plaintiff at this time,
                                  5   Plaintiff is informed and believes that there are thousands of Members in the Class.
                                  6   Based on the number of customers who have visited Defendant’s California hotels,
                                  7   it is estimated that the Class is composed of more than the requisite number of
                                  8   persons to sustain an adequate class action. Furthermore, even if subclasses need
                                  9   to be created for these consumers, it is estimated that each subclass would have
                                 10   hundreds of Members. The Members of the Class are so numerous that joinder of
                                 11   all Members is impracticable and the disposition of their claims in a class action
                                 12   rather than in individual actions will benefit the parties and the courts.
3055 Wilshire Blvd, 12th Floor




                                                   Typicality: Plaintiff and Class Members’ claims are typical of the
Los Angeles, CA 90010-1137
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                                 13         53.
                                 14   claims of the Members of the Class as all Members of the Class are similarly
                                 15   affected by Defendant’s wrongful conduct, as detailed herein.
                                 16         54.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 17   the Members of the Class in that they have no interests antagonistic to those of the
                                 18   other Members of the Class. Plaintiff has retained experienced and competent
                                 19   counsel.
                                 20         55.    Superiority: A class action is superior to other available methods for
                                 21   the fair and efficient adjudication of this controversy. Since the damages sustained
                                 22   by individual Class Members may be relatively small, the expense and burden of
                                 23   individual litigation makes it impracticable for the Members of the Class to
                                 24   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 25   adjudication of this controversy through a class action will avoid the potentially
                                 26   inconsistent and conflicting adjudications of the claims asserted herein. There will
                                 27   be no difficulty in the management of this action as a class action. If Class treatment
                                 28   of these claims were not available Defendant would likely unfairly receive
                                                                         15
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 16 of 23 Page ID #:16



                                  1   thousands of dollars or more in improper revenue.
                                  2         56.    Common Questions Predominate: Common questions of law and fact
                                  3   exist as to all Members of the Class and predominate over any questions solely
                                  4   affecting individual Members of the Class. Among the common questions of law
                                  5   and fact applicable to the Class are:
                                  6                i.   Whether Defendant’s website, https://www.1hotels.com/, and
                                  7                     Mobile App are inaccessible to the visually impaired who use
                                  8                     screen reading software to access internet websites;
                                  9                ii. Whether Plaintiff and Class Members have been unable to access
                                 10                     https://www.1hotels.com/ and Defendant’s Mobile App through
                                 11                     the use of screen reading software;
                                 12                iii. Whether the deficiencies in Defendant’s website and Mobile App
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
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                                 13                     violate the Americans with Disabilities Act of 1990, 42 U.S.C. §
                                 14                     12181 et seq.;
                                 15                iv. Whether the deficiencies in Defendant’s website and Mobile App
                                 16                     violate the California Unruh Civil Rights Act, California Civil
                                 17                     Code § 51 et seq.;
                                 18                v. Whether, and to what extent, injunctive relief should be imposed
                                 19                     on Defendant to make https://www.1hotels.com/ and Defendant’s
                                 20                     Mobile App readily accessible to and usable by visually impaired
                                 21                     individuals;
                                 22                vi. Whether Plaintiff and Class Members are entitled to recover
                                 23                     statutory damages with respect to Defendant’s wrongful conduct;
                                 24                     and
                                 25                vii. Whether further legal and/or equitable relief should be granted by
                                 26                     the Court in this action.
                                 27         57.    The class is readily definable and prosecution of this action as a Class
                                 28   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                                                         16
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 17 of 23 Page ID #:17



                                  1   difficulty which will be encountered in the management of this litigation which
                                  2   would preclude the maintenance of this matter as a Class action.
                                  3          58.    The prerequisites to maintaining a class action for injunctive relief or
                                  4   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                  5   to act on grounds generally applicable to the Class, thereby making appropriate final
                                  6   injunctive or equitable relief with respect to the Class as a whole.
                                  7          59.    The prerequisites to maintaining a class action for injunctive relief or
                                  8   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                  9   common to the Class predominate over any questions affecting only individual
                                 10   Members and a class action is superior to other available methods for fairly and
                                 11   efficiently adjudicating the controversy.
                                 12          60.    The prosecution of separate actions by Members of the Class would
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
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                                 13   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 14   conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 15   interest of all Members of the Class although certain Class Members are not parties
                                 16   to such actions.
                                 17          61.    Defendant’s conduct is generally applicable to the Class as a whole
                                 18   and Plaintiff seek, inter alia, equitable remedies with respect to the Class as a whole.
                                 19   As such, Defendant’s systematic policies and practices make declaratory relief with
                                 20   respect to the Class as a whole appropriate.
                                 21                                         COUNT I
                                 22      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 23                                 U.S.C. § 12181 ET SEQ.
                                 24                  (Against Defendant’s Website, on Behalf of Plaintiff,
                                 25                      the Nationwide Class, and the California Class)
                                 26          62.    Plaintiff alleges and incorporates herein by reference each and every
                                 27   allegation contained in paragraphs 1 through 61, inclusive, of this Complaint as if
                                 28   set forth fully herein.
                                                                          17
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 18 of 23 Page ID #:18



                                  1         63.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                  2   provides: “No individual shall be discriminated against on the basis of disability in
                                  3   the full and equal enjoyment of the goods, services, facilities, privileges,
                                  4   advantages, or accommodations of any place of public accommodation by any
                                  5   person who owns, leases (or leases to), or operates a place of public
                                  6   accommodation.” 42 U.S.C. § 12182(a).
                                  7         64.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                  8   discrimination also includes, among other things: “a failure to make reasonable
                                  9   modifications in policies, practices, or procedures, when such modifications are
                                 10   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 11   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 12   that making such modifications would fundamentally alter the nature of such goods,
3055 Wilshire Blvd, 12th Floor




                                      services, facilities, privileges, advantages or accommodations”; and “a failure to
Los Angeles, CA 90010-1137
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                                 13
                                 14   take such steps as may be necessary to ensure that no individual with a disability is
                                 15   excluded, denied services, segregated or otherwise treated differently than other
                                 16   individuals because of the absence of auxiliary aids and services, unless the entity
                                 17   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 18   good, service, facility, privilege, advantage, or accommodation being offered or
                                 19   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 20   accommodation shall take those steps that may be necessary to ensure that no
                                 21   individual with a disability is excluded, denied services, segregated, or otherwise
                                 22   treated differently than other individuals because of the absence of auxiliary aids
                                 23   and services, unless the public accommodation can demonstrate that taking those
                                 24   steps would fundamentally alter the nature of the goods, services, facilities,
                                 25   privileges, advantages, or accommodations being offered or would result in an
                                 26   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                 27   order to be effective, auxiliary aids and services must be provided in accessible
                                 28   formats, in a timely manner, and in such a way as to protect the privacy and
                                                                         18
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 19 of 23 Page ID #:19



                                  1   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                  2         65.    Defendant’s hotel locations are “public accommodations” within the
                                  3   meaning of 42 U.S.C. § 12181 et seq. Upon information and belied, Defendant
                                  4   generates millions of dollars in revenue from the sale of its amenities and services,
                                  5   privileges, advantages and accommodations in California through its locations and
                                  6   related services, privileges, advantages, and accommodations, and its website,
                                  7   https://www.1hotels.com/, constitutes a service, privileges advantage and
                                  8   accommodation provided by Defendant that is inaccessible to customers who are
                                  9   visually impaired like Plaintiff.    This inaccessibility denies visually impaired
                                 10   customers full and equal enjoyment of and access to the facilities and services,
                                 11   privileges, advantages, and accommodations that Defendant made available to the
                                 12   non-disabled public. Defendant is violating the Americans with Disabilities Act,
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
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                                 13   42 U.S.C. § 12181 et seq., in that Defendant denies visually impaired customers the
                                 14   services,    privileges,    advantages,    and    accommodations       provided    by
                                 15   https://www.1hotels.com/. These violations are ongoing.
                                 16         66.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 17   set forth and incorporated therein Plaintiff requests relief as set forth below.
                                 18                                        COUNT II
                                 19      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 20                                 U.S.C. § 12181 ET SEQ.
                                 21                (Against Defendant’s Mobile App, on Behalf of Plaintiff,
                                 22                      the Nationwide Class, and the California Class)
                                 23         67.    Plaintiff alleges and incorporates herein by reference each and every
                                 24   allegation contained in paragraphs 1 through 66, inclusive, of this Complaint as if
                                 25   set forth fully herein.
                                 26         68.    Defendant’s Mobile App is a service, privilege, or advantage of
                                 27   Defendant’s business. Defendant’s Mobile App is a service that is integrated with
                                 28   its physical location(s).
                                                                         19
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 20 of 23 Page ID #:20



                                  1          69.    The acts alleged herein constitute violations of Title III of the ADA,
                                  2   and the regulations promulgated thereunder. Plaintiff, who is a member of a
                                  3   protected class of persons under the ADA, has a physical disability that substantially
                                  4   limits the major life activity of sight within the meaning of 42 U.S.C. §§
                                  5   12102(1)(A)-(2)(A). Plaintiff has been denied full and equal access to Defendant’s
                                  6   Mobile App, has not been provided services which are provided to other customers
                                  7   who are not disabled, and has been provided services that are inferior to the services
                                  8   provided to non-disabled persons. Defendant has failed to take any prompt and
                                  9   equitable steps to remedy its discriminatory conduct. These violations are ongoing.
                                 10          70.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 11   set forth and incorporated therein, Plaintiff, requests relief as set forth below.
                                 12                                          COUNT III
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
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                                 13     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 14                                   CIVIL CODE § 51 ET SEQ.
                                 15     (Against Defendant’s Website, on Behalf of Plaintiff, and the California Class)
                                 16          71.    Plaintiff alleges and incorporates herein by reference each and every
                                 17   allegation contained in paragraphs 1 through 70, inclusive, of this Complaint as if
                                 18   set forth fully herein.
                                 19          72.    California Civil Code § 51 et seq. guarantees equal access for people
                                 20   with disabilities to the accommodations, advantages, facilities, privileges, and
                                 21   services of all business establishments of any kind whatsoever. Defendant is
                                 22   systematically violating the UCRA, Civil Code § 51 et seq.
                                 23          73.    Defendant’s locations are “business establishments” within the
                                 24   meaning of the California Civil Code § 51 et seq. Upon information and belied,
                                 25   Defendant generates millions of dollars in revenue from the sale of its services in
                                 26   California    through     its     physical   locations   and   related   services    and
                                 27   https://www.1hotels.com/, is a service provided by Defendant that is inaccessible
                                 28   to customers who are visually impaired like Plaintiff and Class Members. This
                                                                          20
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 21 of 23 Page ID #:21



                                  1   inaccessibility denies visually impaired customers full and equal access to
                                  2   Defendant’s facilities and services that Defendant makes available to the non-
                                  3   disabled public. Defendant is violating the Unruh Civil Rights Act, California Civil
                                  4   Code § 51 et seq., in that Defendant is denying visually impaired customers the
                                  5   services provided by https://www.1hotels.com/. These violations are ongoing.
                                  6         74.    Defendant is also violating the Unruh Civil Rights Act, California
                                  7   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                  8   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                  9   of the California Civil Code provides that a violation of the right of any individual
                                 10   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 11         75.    The actions of Defendant were and are in violation of the Unruh Civil
                                 12   Rights Act, California Civil Code § 51 et seq.; therefore, Plaintiff and Class
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
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                                 13   Members are entitled to injunctive relief remedying the discrimination.
                                 14         76.    Plaintiff and Class Members are also entitled to statutory minimum
                                 15   damages pursuant to California Civil Code § 52 for each and every offense.
                                 16         77.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 17   fees and costs.
                                 18         78.    Plaintiff and Class Members are also entitled to a preliminary and
                                 19   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 20   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 21   necessary to make https://www.1hotels.com/ readily accessible to and usable by
                                 22   visually impaired individuals.
                                 23                                       COUNT IV
                                 24     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 25                             CIVIL CODE § 51 ET SEQ.
                                 26   (Against Defendant’s Mobile App, on Behalf of Plaintiff and the California Class)
                                 27         79.    Plaintiff alleges and incorporates herein by reference each and every
                                 28   allegation contained in paragraphs 1 through 78, inclusive, of this Complaint as if
                                                                         21
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 22 of 23 Page ID #:22



                                  1   set forth fully herein.
                                  2         80.    Defendant generates millions of dollars in revenue from the sale of
                                  3   goods and services through its Mobile App. Defendant’s Mobile App is a service
                                  4   provided by Defendant that is inaccessible to patrons who are blind or visually
                                  5   impaired like Plaintiff. This inaccessibility denies blind and visually impaired
                                  6   patrons full and equal access to the facilities, goods, and services that Defendant
                                  7   makes available to the non-disabled public. Defendant is violating the UCRA, Civil
                                  8   Code § 51 et seq., by denying visually impaired customers the goods and services
                                  9   provided on its Mobile App. These violations are ongoing.
                                 10         81.    Defendant is also violating the UCRA, Civil Code § 51 et seq. because
                                 11   the conduct alleged herein violates various provisions of the ADA, 42 U.S.C. §
                                 12   12101 et seq., as set forth above. Section 51(f) of the Civil Code provides that a
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Los Angeles, CA 90010-1137
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                                 13   violation of the right of any individual under the ADA also constitutes a violation
                                 14   of the UCRA.
                                 15         82.    The actions of Defendant violates UCRA, Civil Code § 51 et seq., and
                                 16   Plaintiff and Class Members are therefore entitled to injunctive relief remedying the
                                 17   discrimination.
                                 18         83.    Plaintiff and Class Members are entitled to statutory minimum
                                 19   damages pursuant to Civil Code § 52 for each and every offense.
                                 20         84.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 21   fees and costs.
                                 22         85.    Plaintiff and Class Members are also entitled to a preliminary and
                                 23   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 24   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 25   necessary to make Defendant’s Mobile App readily accessible to and usable by
                                 26   visually impaired individuals.
                                 27                                PRAYER FOR RELIEF
                                 28         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                                                         22
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:22-cv-07745-RGK-JC Document 1 Filed 10/24/22 Page 23 of 23 Page ID #:23



                                  1   respectfully requests that the Court enter judgment in her favor and against
                                  2   Defendant as follows:
                                  3         A.     For an Order certifying the Nationwide Class and California Class as
                                  4                defined herein and appointing Plaintiff and her Counsel to represent
                                  5                the Nationwide Class and the California Class;
                                  6         B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                  7                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                  8                enjoining Defendant from violating the Unruh Civil Rights Act, the
                                  9                ADA and requiring Defendant to take the steps necessary to make
                                 10                https://www.1hotels.com/ and Defendant’s Mobile App readily
                                 11                accessible to and usable by visually impaired individuals;
                                 12         C.     An award of statutory minimum damages of $4,000 per offense per
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Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                person pursuant to section 52(a) of the California Civil Code.
                                 14         D.     For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 15                52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 16         E.     For pre-judgment interest to the extent permitted by law;
                                 17         F.     For costs of suit; and
                                 18         G.     For such other and further relief as the Court deems just and proper.
                                 19                             DEMAND FOR JURY TRIAL
                                 20         Plaintiff, on behalf of herself and all others similarly situated, hereby
                                 21   demands a jury trial for all claims so triable.
                                 22   Dated: October 24, 2022                           Respectfully Submitted,
                                 23
                                 24
                                 25                                                     /s/ Binyamin I. Manoucheri
                                                                                        Thiago M. Coelho
                                 26                                                     Binyamin I. Manoucheri
                                 27                                                     WILSHIRE LAW FIRM
                                                                                        Attorneys for Plaintiff and
                                 28                                                     Proposed Class
                                                                        23
                                                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
